     Case 1:13-cr-00051-LG-RHW       Document 76      Filed 06/16/14   Page 1 of 6




                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA

V.                                           CRIMINAL NO. 1:13CR51-LG-RHW-2
                                                           1:14CR1-LG-JMR-2

KEITH ANTHONY KIEL                                                     DEFENDANT

                  ORDER DENYING DEFENDANT’S MOTION
                    TO QUASH OR DISMISS INDICTMENT

      BEFORE THE COURT is the [50] Motion to Quash/Dismiss Indictment filed

by Defendant Keith Anthony Kiel. The Court heard arguments on the Motion on

March 25, 2014. At that time the Court denied the Motion on the record, with a

written order to follow. For the reasons set forth below, it is the opinion of the

Court that the Motion to Quash/Dismiss the Indictment should be denied.

                                    BACKGROUND

      Kiel is charged in a seven-count indictment with various offenses related to

multiple bank robberies. (ECF No. 4). Kiel and two other defendants were indicted

on June 11, 2013 on seven counts, which include violations of 18 U.S.C. § 371

(conspiracy), 18 U.S.C. § 2113(a)&(d) (bank robbery), 18 U.S.C. § 924(c)(1)(A)(ii)

(brandishing of a firearm), and 18 U.S.C. § 2312 (transportation of stolen vehicles).

In that indictment, the defendants are alleged to have committed two bank

robberies: one on May 13, 2008 (“the May 2008 robbery”), and another on June 19,

2008 (“the June 2008 robbery”).1


      1
       This case has been consolidated with Criminal Action No. 1:14-cr-1-LG-
JMR, in which the defendants were indicted on January 7, 2014, on charges related
    Case 1:13-cr-00051-LG-RHW          Document 76     Filed 06/16/14    Page 2 of 6




      Kiel moves to quash or dismiss the indictment on the grounds that it is

barred by the applicable statute of limitations. The United States (“the

Government”) has responded in opposition to the Motion. (ECF No. 55).

      The parties do not dispute that the charges in the indictment carry a five-

year statute of limitations under 18 U.S.C. § 3282.2 Kiel submits that the June 11,

2013 indictment violates the five-year statute of limitations with respect to the May

2008 robbery, and he argues that the counts related to that robbery should be

dismissed. Kiel further argues that, although the charges related to the June 2008

robbery are not barred by the statute of limitations, they should nevertheless be

dismissed because Kiel is “allegedly tied to the June 19, 2008 robbery mainly via

evidence obtained from the May 13, 2008 robbery.” (Mot. 2, ECF No. 50).

      In response to Kiel’s Motion, the United States submits that because DNA

testing by the Federal Bureau of Investigation (FBI) implicated Kiel in the May

robbery, 18 U.S.C. § 3297 applies, and therefore the statute of limitations period for



to several other bank robberies committed in 2012 and 2013. The instant Motion
relates only to the May 2008 and June 2008 robberies, and the corresponding
indictment in Criminal Action No. 1:13-cr-51-LG-RHW.
      2
          18 U.S.C. § 3282 provides in part:

               Except as otherwise expressly provided by law, no person
               shall be prosecuted, tried, or punished for any offense, not
               capital, unless the indictment is found or the information
               is instituted within five years next after such offense shall
               have been committed.

18 U.S.C. § 3282(a).


                                               2
    Case 1:13-cr-00051-LG-RHW         Document 76     Filed 06/16/14   Page 3 of 6




the charges in the indictment is extended. 18 U.S.C. § 3297 provides:

               In a case in which DNA testing implicates an identified
               person in the commission of a felony, no statute of
               limitations that would otherwise preclude prosecution of
               the offense shall preclude such prosecution until a period
               of time following the implication of the person by DNA
               testing has elapsed that is equal to the otherwise
               applicable limitation period.

18 U.S.C. § 3297. The Government submits that Defendant Kiel was implicated in

the May 2008 robbery by DNA testing reported by the FBI Laboratory on May 7,

2013. (Gov’t Resp. 2, ECF No. 55; FBI Lab Report, ECF No. 55-1). According to the

Government, FBI Agents submitted to the FBI Laboratory a mask, gloves, and a

soda can left in the getaway vehicle used in the May 2008 robbery. The FBI

Laboratory determined in May 2013 that the DNA profile found on the mask and

gloves was individually matched to Kiel’s DNA profile in a nationwide DNA

computer analytical system. (Id.) Therefore, the Government argues, the five-year

statute of limitations period with respect to the May 2008 robbery did not start

running until May 7, 2013, when the FBI’s DNA testing first implicated Kiel. Thus,

the Government asserts, the June 2013 indictment is not barred by the statute of

limitations.

                                      DISCUSSION

      The Court finds that, under the plain language of 18 U.S.C. § 3297, Kiel’s

indictment does not violate the applicable statute of limitations. The Government

has submitted the May 2013 FBI Laboratory report explaining that DNA testing

implicated Kiel in the commission of the May 2008 robbery. Therefore, under §

                                            3
    Case 1:13-cr-00051-LG-RHW        Document 76     Filed 06/16/14    Page 4 of 6




3297, the five-year statute of limitations that would have otherwise precluded

prosecution on charges related to the May 2008 robbery does not apply, and an

additional five-year period following Kiel’s implication in the crime is permitted to

elapse before his prosecution is time-barred. Accordingly, his indictment in June

2013 is timely under 18 U.S.C. § 3297.

      The United States Court of Appeals for the Seventh Circuit affirmed a trial

court’s decision reaching the same result in United States v. Hagler, 700 F.3d 1091

(7th Cir. 2012). In Hagler, DNA testing conducted in 2008 identified Hagler in a

then-unsolved bank robbery that was committed in 2000. Hagler was indicted in

2010, just under ten (10) years after the robbery was committed. Following his

conviction, Hagler appealed, challenging the timeliness of his prosecution. The

Seventh Circuit rejected Hagler’s argument that he was indicted after the statute of

limitations in 18 U.S.C. § 3282(a) had run. The Hagler court noted that “[s]ection

3282(a) specifically allows for exceptions to the general limitations period,” and that

18 U.S.C. § 3297 applied; therefore, Hagler’s indictment was not time-barred. 700

F.3d at 1096-98. The Seventh Circuit discussed the purpose of § 3297 in light of the

nature of DNA evidence, which is the “most reliable evidence of identification:”

             This unique reliability explains why Congress enacted §
             3297. Statutes of limitations exist, in part, to protect
             people from having to defend against charges where the
             basic facts may have become obscured by the passage of
             time. But properly stored DNA evidence, unlike most
             other kinds of evidence, can maintain its reliability for
             decades. Thus, when DNA evidence is available, the
             reasons for having a statute of limitations are
             significantly attenuated. Or, put another way, § 3297

                                          4
    Case 1:13-cr-00051-LG-RHW       Document 76      Filed 06/16/14   Page 5 of 6




             extends the limitations period in DNA cases because DNA
             evidence is uniquely precise.

Hagler, 700 F.3d at 1098 (internal quotations and citations omitted).

      Kiel argued at the March 25, 2013 hearing that 18 U.S.C. § 3297 is

unconstitutional. This Court rejected that argument, and noted that the Seventh

Circuit also rejected a void-for-vagueness argument in Hagler. As the Seventh

Circuit found, “§ 3297 is perfectly susceptible to reasoned interpretation.” 700 F.3d

at 1098. This Court agrees, and declines to find that § 3297 is unconstitutionally

vague.

                                    CONCLUSION

      For the reasons set forth above, the Court finds that the June 2013

indictment charging Defendant Kiel with offenses related to the May 2008 and June

2008 bank robberies is not barred by the applicable statute of limitations.

Accordingly, Defendant Kiel’s Motion to Quash/Dismiss the indictment is denied.

      IT IS THEREFORE ORDERED AND ADJUDGED that the [50] Motion to

Quash/Dismiss Indictment filed by Defendant Keith Anthony Kiel is DENIED.

      SO ORDERED AND ADJUDGED this the 16th day of June, 2014.



                                              s/   Louis Guirola, Jr.
                                              LOUIS GUIROLA, JR.
                                              CHIEF U.S. DISTRICT JUDGE




                                          5
Case 1:13-cr-00051-LG-RHW   Document 76   Filed 06/16/14   Page 6 of 6




                                6
